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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                  NO. 4:04CR00291-14 JLH

NADINE WEBB                                                                          DEFENDANT

                                              ORDER

        The Court conducted a hearing on Thursday, January 29, 2009, to address the pending motion

and supplemental motion to revoke probation filed by the government in this matter. United States

Attorney Jane Duke was present for the government. The defendant, Nadine Webb, appeared in

person with her attorney, Federal Public Defender Jenniffer Horan. U.S. Probation Officer Selina

Earsa was also present.

        Following witness testimony and argument by counsel, as well as defendant’s admissions,

the Court found that the violations had occurred. However, for the reasons stated on the record, the

Court denied the motions to revoke, but modified the conditions of probation. Documents #747 and

#758.

        IT IS THEREFORE ORDERED that defendant Nadine Webb’s conditions of probation are

hereby modified to include the following:

•       The term of probation is hereby extended one (1) year, with the new expiration date being
        April 11, 2010.

•       The defendant will continue to reside at the City of Faith halfway house an additional six (6)
        months, or until July 28, 2009.

•       The defendant must participate, under the guidance and supervision of the probation officer
        in a substance abuse treatment program which may include testing, outpatient counseling,
        and residential treatment. The defendant must abstain from the use of alcohol throughout
        the course of treatment.
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•     The defendant must participate in mental health counseling under the guidance and
      supervision of the U.S. Probation Office.

•     The defendant must pay the special penalty assessment balance of $75.00 immediately.

•     The defendant must turn over her bank account card (or ATM card) to the City of Faith to
      ensure that her housing accommodations are paid for.

      All other conditions of probation remain unchanged and in full force and effect as previously

imposed.

      IT IS SO ORDERED this 30th day of January, 2009.



                                                    ___________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
